Case 5:12-cv-12726-JCO-MJH ECF No. 1, PagelD.1 Filed 06/21/12 Page 1 of 9

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA Claim No: 1998A11469/1998A 13567
VS.

Derrick B. Osborne

 

COMPLAINT

 

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction

1. This Court has jurisdiction over the subject matter of this action pursuant to Article I],

Section 2, U.S. Constitution and 28 U.S.C. § 1345.
Venue

2. The defendant is a resident Monroe County, Michigan within the jurisdiction of this

Court and may be served with service of process at 610 Cass Street, Monroe, Michigan 48161.
The Debt
First Cause of Action - Claim Number: 1998A11469

3. The debt owed the USA is as follows:

A. Current Principal (after application of $292.12
all prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $362.91
Accrued Interest

C. Administrative Fee, Costs, Penalties $22.68

D. Attorneys fees $0.00

Total Owed - Claim Number 1998A11469 $677.71
Case 5:12-cv-12726-JCO-MJH ECF No. 1, PagelD.2 Filed 06/21/12 Page 2 of 9

Second Cause of Action - Claim Number: 1998413567

4, The debt owed the USA is as follows:

A. Current Principal (after application of $2,683.80
all prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $3,854.04
Accrued Interest

C. Administrative Fee, Costs, Penalties $49.46

D. Attorneys fees $0.00

Total Owed - Claim Number 1998A13567 $6,587.30

TOTAL OWED (Claim Numbers 1998A11469 and 1998A13567) $7,265.01
The Certificate of Indebtedness, attached as Exhibit "A" and "B", show the total owed
excluding attorney's fees and CIF charges. The principal balance and the interest balance shown
on the respective Certificates of Indebtedness, are correct as of the date of the Certificates of
Indebtedness after application of all prior payments, credits, and offsets. Preyudgment interest
accrues at the rate of 7.510% per annum or $0.06 per day on Claim Number 1998A11469 and
8.000% per annum or $0.59 per day on Claim Number 1998A13567.
Failure to Pay
5. Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.
WHEREFORE, USA prays for judgment:
A. For the sums set forth in paragraph 3 and 4 above, plus prejudgment interest
through the date of judgment, all administrative costs allowed by law, and post-judgment interest

pursuant to 28 U.S.C. § 1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys' fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.
Case 5:12-cv-12726-JCO-MJH ECF No. 1, PagelD.3 Filed 06/21/12 Page 3 of 9

Respectfully submitted,

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC

Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
(248) 352-4340
usa@holzmanlaw.com
 

Case 5:12-cv-12726-JCO-MJH ECF No. 1, PagelD.4 Filed 06/21/12 Page 4 of 9

U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Name: Derrick B. Osburn
Address: 15412 Rushmore St.
Taylor, MI 48180-4880
SS]

Total debt due United States as of 10/06/97: $ 355.49

I certify that Department of Education records show that the debtor named above is indebted
to the United States in the amount stated above, plus additional interest on the principal
balance of $ 292.12 from 10/06/97 at the annual rate of 7.51%. Interest accrues on the
principal amount of this debt at the rate of $ .06 per day.

The claim arose in connection with a Government insured or guaranteed loan(s) made by a
private lender and assigned to the United States.

On 11/23/88 the debtor executed promissory note(s) to secure loan(s) from Bank IV Wichita,
N.A. under loan guaranty programs authorized under Title IV-B of the Higher Education Act
of 1965, as amended, 20 U.S.C. 1071 et.seq (34 C.F.R. Part 682). The holder demanded

payment according to the terms of the notes(s) and on 01/20/90 the debtor defaulted on the
obligation.

Pursuant to 34 C.F.R. 682.202 and/or terms of the promissory note(s) the holder(s)

capitalized interest accrued to the original lender in the amount of $ 102.98 thereby increasing
the principal balance due to $ 292.12.

After application of the last voluntary payment of $ 0.00 which was received on N/A the
debtor now owes the following:

Principal: $ 292.12
Interest: $ 40.69
Administrative/Collection Costs: $ 22.68
Penalties: $ 0.00

CERTIFICATION: Pursuant to 28 USC Section 1746, I certify under penalty of perjury that
the foregoing is true and correct.

OQ bute (777 Qi he kes £
(Date) Loan Analyst OC)
Litigation Branch
 

 

 

 

 

Case 5:12-cv-12726-JCO-MJH “ECF No. 2, PagelD.5 Filed 06/21/12 Page 5 of 9
HIGHER EDUCATION ASSISTANCE FOUNDATION G After lender completes application, . SU TEMENTAL LOAN FOR
PQ: BOX 64107 * ST’ PAUL, MN 55164 mail HEAF copy only to this address. "LENDER COPY STUDENTS (SLS) APPLICATION/
oe” . * > PROMISSORY NOTE
SECTION’A® 10 BE COMPLETED BY BORROWER (PRINT IN INK-PRESS FIRMLY-OR TYPE) 2
1, NAME (NO NICKNAMES) “Be: Benen ns ~ 13, WHEN WERE YOU BORN?
ast (2S 480K W/E nest DE KRRi CH wi fA 4 oe
4, PERMANENT ADDRESS “ 7 - 5, PERMANENT ROME PHONE
2s 4 Apote ruse (3/3) Ypr-iz277
cry vl id STATE ~aP
OP psi lavri Lh. ct SLIG IE
6. US AITIZENSHIP SIATUS (CHECK ONE) ALIEN ID NUMBER IF APPLICABLE 7. PERMANENT RESIDENT Ba, DRIVER LICENSE NUMBER (IF YOU DD NOT HAVE A LICENSE, b, STATE WN
UI: CITIZEN OR PERMANENT RESIDENT OR F WHICH STATE. PRINT "NONE" AND GO TO Si WHICH ISSUED
NAiONAL —L) GrHeR ELIGIBLE ALIEN ict Such

 

 

 

 

SS WHILE INSCHOOL (STREET, CITY, STATE, ZIP}

2754 Aneple ide Ye silat, Mick SIAGE

40." PHONE AT.SCHOOL ADDRESS 11) MAJOR COURSE OF STUDY, 12. LOAN AMOUNT REQUESTED 43. PERIOD LOAN WILL COVER

( 31a) Y oS / 32 > Se Ce IN APP BOOKLET 5 sO O i fo | vi b | sy rf My | oq”

PRIOR LOAN INFORMATION -

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    
   
 
 

 

 

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Bae. Do YOU RE BOND 44D) BALANCE RECENT SLS (ALAS) SEE INSTRUCTIONS IN APP BOOKLET MOST RECENT SLS (ALAS)
Fano (60 “TD 18a} 5 $ .
TEA DD YOU HAVE ANY PRIOR UNPAID GSL. | 18b. IF YES, TOTAL UNPAID PRINCIPAL [1a, DO YOU HAVE ANY UNPAID PLUS LOANS. >| 19b. IFYES, TOTAL UNPAID PRINCI- | 20. HAVE YOU EVER DEFAULTED ON AGSL, SLS {ALAS), PLUS,
LOANS? CUYES (GD TO 18b) BALANCE IF YOU BORROWED AS APARENT — [CJYES (G0 70 19b) | PAL BALANCE.OF PERKINS, 6D CONSOLIDATED, OR INCOME CONTINGENT LOAN?
[gna (GO TO 192) 3B UNDER THE PLUS LOAN PROGRAM? £40 (GOTO 20) - PLUSLOANS «= & . AVE DETAILS ON. SEARATE SHEET) AgnD
REFERENCES (VOU MUST PROVIDE THREE DIFFERENT NAMES, WITH DIFFERENT U.S, ADDRESSES AND PHONE NUMBERS) oo,
21 21b. 2ic,
el eel BA BAZ A OS BoRve _ .|,| nme Delores HARDICK ale|wme OO LP punspng TOAS
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oe te v
A] PHONE - E| | PHONE | y
22. IFYOU.QLaury run a ucrcnmcrs, 23. YOUR LENDER MAY ALLOW THE INTEREST TD ACRE AND CAPITAL ss wwrm rs
DEFER PRINCIPAL PAYMENTS WHILE IN SCHOOL? (IF YES, GO TD 23: is DEFERMENT ‘OR YOUR LENDER MAY COLLECT THE INTEREST FROM YOU IN PERIODIC tri menue, ue —
IEND,GOT0 24a) YES Cro INSTALLMENTS. IF YOUR LENDER aves YOU A CHOICE, we DO.YOU PREFER? CI PERIODIC INSTALLMENT PAYMENTS

ry, ory Note. PROMISE TO PAY: h promise ib pay to the order off my lender the entire Loan ‘Amount

including the Guarantee Fee and Interest on the unpaid principal balance, subject to the terms: and conditions described on the reverse side of this Promissory Note and fo the terms and conditions
fe Disclosure Statement that will be provided to me no Jater than the time of the first disbursement of this loan, | have read, T understand, and! agree to the Borrower's Certification on the reverse side of this. Promissory Note.’ understand th that this

Ty Note, | will not sign it before reading all of its provisions, even if otherwise advised, | am entitfed to a copy of this Promissory Note, By signing his. Promissory’ Note J acknowledge that! have, received an exact copy of It. m.

 

 

  
 

 

     

  

 

 

 

 

 

 

 

 

 

 

24b. DATE ORO vA
Jf 23 188
2. on oO a moe oe Oe i 28, SCHODL CODE
. MARY of the PLAINS COLLEGE/AMERICAN TRUCK DRIVING SCH ( 517) 278-6433 OSIFTY
26, ea (STREET CITY, STATE, ZIP) 2, 7,
150 §. Michigan Ave. Coldwater, MI 49036 , F008
38. 31. PERIOD LOAN WiLL COVER 0 3, STUDENTS ADELE CHENG GRAD 33. ATPATED SRN DATE
FROM AY 70. DAY , vA
PS ge | Bb F | inl ATO Oo, Poo 6.1.70 199
a WL TE RRO BE ENROLLED FULL-TIME DURING TY tio 36. COST OF ATTENDANCE a7. ESTIMATED FINANCIAL AID Mea 7 OR LEG (ITEM 35 LESS, ,
C] re (DATE) | rh Ki No_|SaNDEPENDENT / PERIOD $ 5 Oo 4. S PERIOD & 3 Ss of ( lO ef
39, SUGGESTED DISBURSEMENT DATE 40, WILL THE STUDENT ND A FOREIGN SCHOOL? 4}. SCHOOL USE ONLY
NO DAY
| | ves L] No Le | |

 

 

 

 

 

 

 

{ HAVE READ, | UNDERSTAND, AND | AGREE TO THE a OF SCHOOL OFFICI. , DATE SIGNED 42c. PRINT NAME AND TITLE
TERMS. OF THE SCHOOL CERTIFICATION PRINTED / ay oy
0 THE REVERSE SIDE OF THIS APPLICATION. Aft. L . ' \ | Judy Hatt. em FEF, A. Oo 2

     

    

 

 

 

 

 

 

 

 

 

 

 

 

   

43, NAME OF LENDER 45, LENDER CODE 45. BRANCH CODE
BANK IV WICHITA, N.A. 804647
44, ADDRESS (STREET, BUILDING) . 47. 48,
‘BOX 1090
CITY, STATE, ZIP 49, TOTAL LOAN AMOUNT APPROVED 50. DISBURSEMENT DATE
tia . mo DAY YR
Wichita, Kansas 67201 : $ 00 . i |
51, NUMBER OF MONTHLY INSTALLMENTS 52, DUE DATE OF FIRST PAYMENT 53. LENDER ACCOUNT NUMBER 54. LENDER USE ONLY
| MO DAY YR
| | | | |
55a. SIGNATURE OF LENDING OFFICIAL 55b. DATE SIGNED 55c. PRINT NAME AND TITLE
X MO DAY YR
SEETIOND TOHRU ETRY) Jay. enousson woes
FO-BI 4-87 57, PROMISSORY NOTE STATUS

 

SLS-353 = PFC 49 yee
ge AIOY

 

REVIFV'ED #12
ase 5:12-cv-12726-JCO-MJH ECF No. 1, PagelD.6 Filed 06/21/12 Page 6 of 9

Cc
SLS PROMISSORY NOTE
A. PROMISE TO PAY

The Interest and Guarantee Fea rafes and terms
front of this application/promissory note) are:

1. Interest. For a PLUS or SLS loan made for a period of enrollment beginning prior to July
1, 1987, the applicable interest rate is 12% per year, For loans made for periods of enrollment
beginning on or after July 1, 1987, the interest will be equivalent to interest on the Loan
Amount shown on the front of this application/promissory note, at a variable rate not to ex-
ceed 12 percent per year. The interest rate will be determined annually and will be disclosed
to me prior to disbursement of my loan.
lished for that Year by the U.S. Department of Education for variable-rate PLUS and SLS
loans,

2, Guarantee Fee.

HEAF may charge a fee to guarantee my loan. The amount, if any. is governed by current
law, applicable regulations and HEAF policy and Rules and Regulations. The Guarantee
Fee will be deducted from my check. | understand that this charge is not subject to refund
except for the amount attributable to any disbursement Ido not receive, which refund will, at
the lender's option. be applied to my loan balance or be returned.to me. My loan disclosure

statement will show the actual guarantee jee,charged,

. ‘

(mentioned in the Promise to Pay on the

B. DISCLOSURE OF LOAN INFORMATION

! understand that before | receive my loan check, my lender will send me a loan disclosure
statement that identifies all the terms of my loan.

C. GENERAL

| understand that the lender has applied for guarantee coverage of this loan through the
Higher Education Assistance Foundation (HEAF) and because of this, the loan is subject to,
and the terms of this Promissory Note will be interpreted in accordance with, Title WV, PartB
of the Higher Education Act of 1955, as amended, (“the Act”), federal regulations adopted
under the Act, and the Rules

D. REPAYMENT

1. | understand | can either defer principal payments while in schoo! or begin repayment . .
immediately. These options are described below and my choice is indicated in #22 onthe’ ~

front of this application/promissory note. 0

Deferred Repayment. it | answer YES to #22, | wish to defer repayment of loan
reasons explained under Deferment in the HEAF application information book
the repayment period on this loan begins when the i

due within 60 days of disbursement.) However,
at my lender's option, and in accordance with
statement: —- :

a. be paid by me in installments; or : we

b. accrue and be added to the principal amount of the loan (capitalized),
quarterly, in accordance with laws and requiations governing the PLUS and SLS program
| will contact the lender prior to expiration of the period of deferment to negotiate the terry
of repayment, if | neglect to do so, | authorize the lander to establish repayment terms with
(he guidelines set forth in Paragraph 2 of this Section, without my further approval; howey,
my londer: must inform f- of the terms in writing at the latest address which | have provid!
io the lender. !
‘immediate repayment. If | answer NO to #22, | agree to begin repaying loan principal a’
nterest within 60 days of disbursement. , :

2. | will repay this loan within 10 years of the date of this Note, over a repayment period t]
jenerally lasts at lsast 5 years but no more than 10 years. However, the following excaptic’
© these rules apply: :

a. The lender may réquire a repayment period shorter than 5 ears if this is necessary
2nsure that during each year of the repayment period |—or, if both my spouse and | hi .
BSLP PLUS or SLS program loans outstanding, we-—pay toward principal and interes
Past $600 or the unpaid principal balance of all such loans (plus interest) whichever is.iq

> If quality forany deferment period described under Defermentin this Note, or if thelen
yrants wor earance”, those periods will not be included in the 5- and 10-year periods nj .
ion ve. :

1. The particular terms and conditions of repayment that apply to this loan will be set for|
he loan disclosure statement that the lender will provide to me,

i, My obligation to repay this joan‘shall be cancelled if | die or become totally and per
tently disabled. :

principal for
jet, (By law,

no more often thd

The interest rate for any year will be the rate Pub- °

and Regulations of HEAF To the extent not governed by federal **
law, this Note shali be governed by the laws of the jurisdiction in which the lender is located, .

e loan is disbursed with the first payment’...
during the period of defermant, interest shail, "
the terms and conditions oni the disciosi

the undersigned hereby expressly:

1. Warrants that:

* © H. DEFAULT _—

«1. Definition—1 understand that under the Act, and HEAF Rules and Regulations, any of the
following events is a default:
. a. failing to make any installment payment when due, provided that this failure persists for
* 180 days for a loan repayable in monthly installments or 240 days for a loan repayable in
less frequent installments; :
b, making any false representation for the purpose of obtaining this..san;
c. using the loan proceeds for other than educational purposes; oo
d. failing to enroll in the school that completed the application for the time identified as my
doan period;
e:not notiying the lender immediately if | (a) drop to less than a half-time student, (b) change
my graduation date, (c) change my name, or (d) change my permanent address.

2. Consequences of default~if | default on this loan:
a. The lender may declare the entire unpaid amount of the loan, including interest, immedi-
ately due and payable;
b. The iender, holder, or guaranty agency
currently attending) information about the default:
c. | will be ineligible to receive assistance from all Title IV programs and any of the following
federal programs: Pell Grant, Supplemental Educational Opportunity Grant, Collage Work-
Study, State Student incentive Grant, Perkins Loan (formerly called National Direct Student
Loan), Guaranteed Student Loan (GSL), Supplemental Loan for Students (SLS), PLUS loans,
. or Consolidation Loans; ‘ vo.
d. | will be ineligible for the benefits described under Repayment and Deferment in this Noté:
e. | will also pay all charges and other costs, including attorney's fees, that are permitted by
federal law and regulations for the collection
Collection to an agency tHat is subject to the Fair Debt Collection Practices Act, | will pay
collection costs not to exceed 25 -
claring these amounts immediately due and payable is at the option of the lender, which it
_” May do only after complying with applicable notice and other requirements of law. Failure to

may disclose to schools | have attended (or am

of these amounts. If this oan is referred for |

percent of the unpaid principal and accrued interest. De--

exercise this option does not constitute a waiver of the lender's right to exercise thé option ©

ata later date;
£. The jender may assign this Note to HEAE | will then be required to pay HEAF all amounts.
owed,

 .
=

1. LATE CHARGES

H permitted by law, the lender may collect from me a late charge if | fail to pay all or part of a
required installment payment within 10 days after it is due or if | fail to provide written evi-
dence that verifies my eligibility to have the payment deferred as described under Deferment
in this Note. A late charge may not exceed 6 gents for each dollar of each late installment.

~ J. CREDIT BUREAU NOTIFICATION

. ; Information concerning the amount of this loan and its repayment will be reported to one or
more credit bureau organizations, i | default on this loan, the lender, holder or guarant
coeaesadill alen ranort the default to credit bureau organizations. This may significantly and

AFFIX TO BACK OF PROMISSORY NOTE

n Assistance Foundation (“HEAF”)

t without
, however, notwithstanding this indorsement without

recourse,

SO nee ee

 

 

 

 

 

 

 

 

 

 

 

 

?. PREPAYMENT rt | the same t of any such proceeding it has disclosed in
it my option and without penalty, | may prepay at any time all or any partof the ur me to HEAF, but no other implied warranties are hereb discl m
rincipal balance of this Note. In the event of prepayment, | will be entitled to a refundof 3, Acknowledges that: ¥ aimed o
earned interest which | have paid. The amount of any such rebate will be compute ° ad
\e Same method by which interest payments were computed. . . a) upon Payment in full by HEAF of the claim submitted by the und .
undersigned
Pursuant to the aforesaid Lender A tov
. greement, H
: DEFERMENT OF PAYMENT of its obligations to the undersigned arisi ad ave discharged al nd
‘certain instances authorized by the Act, the payments | am required to make as desc b) notwithstandi Ng out of said Lender Agreement; and
Ger Repayment in this Note may be deferred, The instances currently authorized b ‘Ng payment by HEAF of the undersigned’s claim and
€1 are described under Deferment in the HEAF application information booklet. If I tance by HEAF of transfer of th accep
ach deferment, | agree to comply with the relevant federal regulations and the Aule! OF this instrument in consideration thereof, HEAF
égulations of HEAF including without limitation submission of required forms to the le has not waived any rights that it may have
will remain responsible for payment of interest during any period of deferment whit to the t . against the undersigned pursuant ons
nder may, (a) collect on a periodic basis, or (b) add fo the principal balance of the loz © terms of the aforesaid Lender Agreement. sin
af t
. | | SIGNATYRE f ro
i. FORBEARANCE % Tn bie
1am unable to repay this ioan in accordance with the terms established under Repa x . nts
jthis Note, ! may request the lender to modify these terms. | understand that such 1 “oY any
Jon would be at the lender's option and would have to be in compliance with tr ( ‘ ; * DATE an
‘deral regulations adopted under the Act and the Rules and Regulations of HEAF 1; |. 5 ay: lene F. Rose, Claims Manager ‘am
and that modification of repayment terms under this Section is different from Deft g ~ PAIN ~ QQ apli=
3 described in this Note and that during this period [ will remain responsible for payr : ZAF
terest, which the lender may (a) collect from me on a periodic basis or (b) add to tr F0025 io.g7__ this
. te af

Pal balance of this foan.

 

 
Case 5:12-cv-12726-JCO-MJH ECF No. 1, PagelD.7 Filed 06/21/12 Page 7 of 9

a

U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Name: Derrick B. Osburn
Address: 15412 Rushmore St.
Taylor, MI 48180-4880
Su.

Total debt due United States as of 10/06/97: $ 3,435.45

I certify that Department of Education records show that the debtor named above is indebted
to the United States in the amount stated above, plus additional interest on the principal
balance of $ 2,683.80 from 10/06/97 at the annual rate of 8%. Interest accrues on the
principal amount of this debt at the rate of $ .59 per day.

The claim arose in connection with a Government insured or guaranteed loan(s) made by a
private lender and assigned to the United States.

On. 06/23/88 the debtor executed promissory note(s) to secure loan(s) from Bank IV. Wichita,
N.A. under loan guaranty programs authorized under Title IV-B of the Higher Education Act
of 1965, as amended, 20 U.S.C. 1071 et.seq (34 C.F.R. Part 682). The holder demanded

payment according to the terms of the notes(s) and on 02/22/90 the debtor defaulted on the
obligation.

Pursuant to 34 C.F.R. 682.202 and/or terms of the promissory note(s) the holder(s)

capitalized interest accrued to the original lender in the amount of $ 145.78 thereby increasing
the principal balance due to $ 2,683.80.

After application of the last voluntary payment of $ 0.00 which was received on N/A the
debtor now owes the following: .

Principal: $ 2,683.80
Interest: $ 702.19
Administrative/Collection Costs: $ 49.46
Penalties: $ 0.00

CERTIFICATION: Pursuant to 28 USC Section 1746, I certify under penalty of perjury that

the foregoing is true and correct. . < ,
et lb !17 Ge Lone thuwy

(Date) Loan Analyst
Litigation Branch
__ Case 5:12: -Cv-12726-JCO-MJH ECF No. 1, PagelD. 8 Filed 06/21/12 Page 8 of 9

 

HIGHER EDUCATION ASSISTANCE EOUNDATION <q After lender completes application, LENDER COPY GUARANTEED STUDENT LOAN
PO.’BOX 641 07 » ST. PAUL, MN 55164 mail HEAF copy only to this addiess. °° * (GSL) APPLICATION/

__,.. PROMISSORY NOTE

   
     

 

"A70 BE COMPLETED BY BORROWER (PRINT IN INK-PRESS FIRMLY—O8 TYP!
1. NAME (NO NICKNAMES)

      

CIAL SECURITY NUMBER

 

 

 

 

 

 

 

 

  
 
 

|. WHEN WERE vou BORN? _
wst_ OSBORA) mst DERRICK wi &

4, PERMANENT ADDRESS” 5, PERMANENT HOME PHONE
QISY A- pple£ inge. — : 23) 673295
airy . ZIP

VP silent _ mies YP 9g

6, US. CITZENSHIP STATUS (CHECK ONE) ALIEN ID NUMBER IF APPLICABLE 7, PERMANENT RESIDENT ]8e, DRIVER LICENSE NUMBER (IF YOU DO NOT HAVE A LICENSE, ab, STATE IN

US. CITIZEN OR | PERMANENT RESIDENT OR OF WHICH STATE PRINT “NAME” AND BN 77) WHICH ISSUED
Dj nancuat"C] GrabmeuGiate ALIEN “Yuwie | _ @
9, ADDRESS WHILE IN SCHOOL (STREET, CITY, STATE, ZIP)

2754 Arepleewse YOSiLandT). Yn 1c lH Sey $e
10, PHONE AT SCHOOL ADDRESS 1. Malon COURSE GE STUDY SOOKE, 3. LOAN PERIOD

RO mp y 7 WO YR
(3/3). YSC-1322 So | "615" 7 7 189

 

 

 

  

JAN INFORMATION

 

 

 

 

 

 

 

 

 

14_ HAVEYOU EVER DEFAULTED ON A GSL, SLS (ALAS), PLUS, CONSOLIDATED, OR 15a. DO YOU HAVE ANY PRIOR UNPAID GSL LOANS? 15b, IF YES, TOTAL UNPAID BALANCE OF GSL LOANS
INCOME CONTINGENT LOAN?

ate, - [_] Yes (GIVEDETANS ON sePARATE SHEET) >Q no |[_] ves (070 15) [XX] No (G0 TD 20a), - $
16, UNPAID PRINDIPAL BALANCE OF MOST REGENT GSL|17. GRADE LEVEL OF WOST RECENT GSL, 18. LOAN PERIOD START DATE OF MOST RECENT GSL 19, INTEREST RATE OF MOST RECENT GSL

re ee SEE INSTRUCTIONS IN APP BOOKLET MO DAY YR :

Le. j | | Om [8% [] 9%
20b, IFYES, TOTAL UNPAID Pa D0 You HAVE ANY UNPAID z 2ib, IF YES, TOTAL UNPAID

ed ns ee ae

_PWUSLOANS? ENO (GD 70 2ta) |SLS (ALAS) GRADUATE STUDY -JTHEPLUSLOANTROGHIA LNG ) [Pans

 

 

 

 

 

REFERENCES {YOU MUST PROVIDE THREE DIFFERENT NAMES, WITH DIFFERENT U.S. ADDRESSES AND PHONE NUMBERS)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ele ie BARBARA OSBxRne _, mu Dedoees HAedRick ale| NAME Joy Rea ying Ton

cjijsmer 2754 Aepleeinge tli) smm_0% Buick Avewue lil smer_2o%s- Faakaey Raat .
lo Eze TWN ores arf fA Mal, My YEVIGS TIN] (me eee on 9% Laatiy— tas Hees
Vs v . . v ‘ “
iN E PHO E fmt Ae. —_. ~

 

    
 
 

NOTICE BORROWER: ‘You mus! reag tne agoinonal Promissory Note ems ‘and tha Bortowe ‘Corti cation on the reverse side before signing this Promissory Note. PROMISE D P
quested shown abové, fo the extent that iis advanced to me, including the Guarantee Fee and the : Origination Fee and Interest of the ‘unpaid Principal balance, subject fo the ferms and canditio
farms and condita fined i in the Disclosure Statement that will be provided toméno later thant the time of the first disbursément of this loan, I have read, | understand, and. i agree fo th

this isa Pr uso)! Note. t vail not sign | it before a reading al oli its $ provisions, | even ilo if otherwise advised, Jam entitled fo.a copy. of this. Promissi te. By ;

 
       
 

    

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

       

 

 

 

 

 

 

 

 

 

   

 

 

 

! 1001, 126. PHONE . SCHOOL CODE
ST. MARY of the PLAINS COLLEGE/AMERICAN TRUCK DRIVING scH__|$17_) 278-6433 | @ojaq
25, ADDRESS (STREET, CITY, STATE, ZIP) 28.
150.S. MICHIGAN AVE. COLDWATER, MI 49036 _. F005
LL COVER STUDENTS GRADE LEVEL (CHECK ON oo
2 } pe ee a DAY va (3,50 TS GRADE LEVEL ( aa 32, vm GRADUATION DATE] 33, STUDENT STATUS wha ONE).
{"6 130198) / 30/8701 REOHE, Pawo! S) 30189 | Cloeowar (onan
wi. ADIUSTED GROSS INCOME (AB) 35, COST OFATTENDANCE FOR LOAN PERIOD [3 ESTIMATED FNANGIAL AIDFOR LOAN 37. EXPECTED FAMILY CONTRIBUTION (ER) 98, DIFFERENCE (TEM 5 LESS
7)
s F277 s 5045 Pm! 29 : (Se ALE ys
35, SUGGESTED DISBURSEMENT DATES
MO DAY YR wo Day yR mo pay a,
istoisa. | | | ano pise.|- | | | 3RD Dis, | - |
a0. ao N ee eu 41,WILL THE STUDENT ATTEND A FOREIGN SCHOOL? 42. SCHOOL USE ONLY
sO whl /\ ves [_] no U7] | |
THAVE READ, | UNDERSTAND, ANDI AGREE TOTHE | a, SBNATUPE OF SCHODL OFFICIAL 43b, DATE 43, PRINT NAME AND TITLE
TERMS OF THE SCHOOL CERTIFICATION PRINTED Mor ‘ "
ON HE REVERSE SIDEOF TH APLAR. OV rete |) CIDA Sy Judy Hattrem F.A.O.
M4, NAMEOFLENDER BT , 4B, LENDER CODE 50. LOAN DISBURSEMENTS
Mo ODAY YR AMOUNT
3ANK. IV. WICHITA, N.A. 804647 | | is
45, ADDRESS (STREET, BUILDING, CITY, STATE, ZIP) 47. BRANCH CODE MO. DW YA AMOUNT
$
30X_1090 WICHTTA, KANSAS 67201 | | |
52, 1S THISAN 53, LENDER ACCOUNT NUMBER 54. LENDER USE ONLY ny
UNSUBSIDIZED LOAN? MO Dar Rg AMOUNT
YES] NO | | | | |
SECTION D-JOBECOMPLETED BYHEAR... c= oa 55a. SIGNATURE OF LENDING OFFICIAL 49. 51. TOTAL LAN AMOHINT Apparwcy j
H.E.A.F. X ___ 00
- 85, HEAF USE ONLY 57. PROMISSORY NOTE STATUS PRINT NU
GSL304 A oO GSBCRNsDERRICKg6& ;
Clam NG 1993040229284 Cé-23-53

Approved #25 ht
5 Case 5:12-cv-12726-JCO-MJH ECF No. 1,
G ‘
iso AFFIX TO BACK OF PROMISSORY NOTE ‘ ‘* +

Vt
figs P igher’
fit ay to the order of Higher Education

3. Acknowledges that:

wil TeCourse, provided, however, notwj
. ' : Notwithstanding this indoregmmars «+
3a the undersigned hereby expressly: 9 this indorsement without recourse,
af 1. Warrants that:
th a) no defense of an
Y party is good agai
ur .
al) ‘the undersigned is not in d gainst the undersigned; and
br in default under the terms of that certai
re ment for Guarantee of Student loans with Federal R in Lender Agree.
97 ra i 4
p Agreement ) between it and HEAF, in accoyd ‘ eimsurance ("Lender
J the indebtedness evidenced by thie nora nce with which paynient of
2. Disetai ier ent was guaranteed
5 conan ms the implied warranty that it has no knowledge of any insol na
I rants thet than with respect to the maker of this instrument and i af sedan
; in %
F th © the extent it has knowledge of any such proceedi ee
i © same to HEAF, but no other im iti ing it has disclosed
i

1 Agreement.

 

 

 

 

SIGNATURE

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““ HSCA Claims Supervisor
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than the 6nd of my grace pom.

ver, during the grace period | may request that the repayifiénit pénoa Deyn seinen so -

Howe
grace period begins when | cease to carry at least one-half the normal academic workload
at aschoo! that is participating in the Guaranteed Student Loan Program (GSLP). .
1) The Secretary will pay the interest that accrues on this loan prior to the repayment period
and during any deferment period, it it is determined that | qualify to have such payments
made on my behalf under the regulations govarning the GSLFP In the event the interest on
this loan is payable by the Secretary, the lender may not attempt to collect this interest from
me. | may, however, choose to pay this interest myself.
2) Once:the repayment period begins I will be resporisible for payment of all the interestthat
accrues on this loan, except that if the interest accruing on this loan prior to the repayment
period was payable by the Secretary, the Secretary will pay the interest that accrues during
any period described under Defermentin this Note. ~ ;
3) The lender may add any interest to the unpaid principal balance of this loan that is not
paid whan it is dua, in accordance with the Rules and Regulations of HEAF governing the
4) I will repay this loan over a repayment peridd that generally lasts at least 5 years but no
more than 10 years. However, the following éxceptions to these rules apply ee
a. If, during the grace period, | request a shorter repayment period, the lender may grant me
a shorter period. fee . oo ”
b. The lender may require a repayment period shorter than 5 years if this is necessary to
ensure that during each year of the repayment period |—or, if both my spouse and | have
GSL, PLUS or SLS program loans outstanding, we—pay toward principal and interest at
least $600 of the unpaid principal of all such loans (plus interest), whichever is less.
c. If | qualify for postponement of my payments during any period described under Defer-
ment in this Note, or if the lender grants “forbearance”, as allowed by the Act, those periods
will not be included in the 5- and 10-year periods mentioned above.
5) If, during the grace period, | request a shorter repayment period, the lender may grant me
a period shorter than 5 years. in that avent, | may later choose to have the repayment period
extended to 5 years. . . ao wow
6) | must contact the lender prior to expiration of my grace petiod to negotiate the terms of
repayment. if | neglect to do so, | hereby authorize the lander to establish repayment terms
within the guidelines set forth in Paragraph 4 of this Section, without my further approval;
however, the lender must inform me of these terms in writing at the latest address that | have
provided to the lender. .
ent that apply to this loan will be set forth

7) The particular terms and conditions of repa ! fi
‘e document that the lender will provide to me before the repayment period begins.

in a separat lo.met
8) My obligation to repay this loan shall be cancelled if ! become totally and permanently
disabled or die.

E. PREPAYMENT

At my option and without penalty, | may prepay at any time all or any part of the unpaid
principal balance of this Note, In the event of prepayment, | will be entitlad toa refund of any
uneamed interest that | have paid. The amount of any such rebate will be computed by the

same method by which interest payments were computed.

F DEFERMENT

| understand that in certain instances authorized by the Act the payments | am required to
make, as described under Repayment in this Note, may be deferred, The instances currently
authorized by the Act are described under Deferment in the HEAF application information
booklet. To obtain such deferment, | agree to comply with the relevant federal regulations
and the Aules and Regulations of the HEAF including, without limitation, submission of re-

quired forms to the lender.

. wa

Assistance Foundation (“HEAF”) without

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: “completeness of information reported about me.

PagelD 2 Filed 06/21/12 Pagé 9 of 9
™"tBEARANCE . eo
: * aoe -*
jable to repay this loan in accordance with the térms established under Repayment
ote, | may request the lender to modify these terms. | understand that such modifi-
rould be at the lender's option and would have to be in compliance with the Act,
regulations adopted under the Act and the Rules and Regulations of HEAF | under-
tat a modification of repayment terms under this Section is different from Deferment
cribed in this Note) and that during this period | will remain responsible for payment
2st, which the lender may (a) collect from me on a periodic basis or (b) add to the
al balance of this foan.

’

FAULT oo
fon understand that under the Act, and HEAF Rules and Regulations, any of the |

ig events is a default: _
hg to make any installment payment when due, provided that this failure persists for

ays for a loah repayable in monthly installments or 240 days for a loan repayable in
faquent installments; :

king any false representation for the purpose of obtaining thisloan;

ig the loan proceeds for other than educational purposes; .... ©°.. ...

ago enroll in the school that completed the application for the time identified as my

eriod; . ay
(b) change<

  
 
   
   
   
   
 
  
  
  
   
    
     
  
  
  
 

notifying the lender immediately if | (a) drop to less than a half-time student,
aduation date, (c) change my name, or (d) change my permanent address.

nsequences of default—tf | default on this loan:

@ lender may declare the entire unpaid amount of
due and payable; em >
@ lender, holder, or guaranty agency may disclose to schools | have att

nt! attending) information abgut the default; . eo ae
ll be ineligible to receive assistance from any of the following federal programs: Pell

t, Supplemental Educational Opportunity Grant, College Work-Study, State Student.
ntive Grant, Perkins Loan (formerly called National Direct Student Loan), Guaranteed
ent Loan (GSL), Supplemental Loan for Students (SLS), PLUS loans, or Consolidation

Ss} La. .
il! be ineligible for the benefits described under Repayment and Defermentin this Note;
will also pay all charges and other costs, including attomey's-fees, that are permitted by
rai law and regulations for the collection of these amounts. If this loan is referred for
lection to an agency that is subject to the Fair Debt Collection Practices Act, | will pay
lection costs not to exceed 25 percent of the unpaid principal and accrued interest. De- .
ing these amounts immediately due and payable is at the option Of the lender, which it
y do only after complying with applicable notice and other requirements of law. Failure to
rolse this option does not constitute a waiver of the lender's right to exercise the option
later date; . we ty
ne lender may assign this Note to HEAF | will then be required to pay HEAF all amounts *
LATE CHARGES oo .
Jarmitted by law, the lender may collect from me a late charge if | fail to pay all or part of a
‘quired instaliment payment within 10 days after it is due or if | fail to provide written evi-
nce that verifies my eligibility to have the payment deferred as described under Deferment
this Note. A late charge may not exceed 6 cents for each dollar of each late installment.

the loan, including interést, imriedi-

ended (or am

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. CREDIT BUREAU NOTIFICATION

formation concerning the amount of this loan and its repayment will be reported to one or
more credit bureau orgariizations. if / default on this loan, the lender, holder or guaranty
agency will also report the default to credit bureau organizations. This may significantly and
adversely affect my ability to obtain other.cregit.“The lender, holder or guaranty agency,
must notify me at least 30 days in advance that information about the default will be dis-
closed to credit bureau organizations unless | enter into repayment on the loan within the 30
days. The lender must provide a timely response to a request from any credit bureau orga-
nization regarding objections | might raise with that organization about the accuracy and

wae

BORROWER CERTIFICATION .
|. declare under penalty of perjury under the laws of the United States of America that the
following is true and correct. {, the borrower, certify that the information contained in my
application for this loan is true, complete and.correct to the best of my knowledge and belief
‘and is made in good faith. At my lender's option, | authorize the lender to make my loan
chéck(s) jointly payable to me arid my school. | hereby authorize the school to pay to the
fender any refund which may-be due me up to the amount of this loan. | further authorize
any educational institution that | may attend or HEAF to release to the lending institution,
subsequent holder, or their agents, any requested information pertinent to this loan (e.g.,
employment, enrollment status, prior loan history, current address). | also authorize the lender,
subsequent holder, their agent, the educational institution, or HEAF to make inquiries to or
respond to inquiries from my parents, or prior or subsequent lenders or holders, with respect
to my loan application and related documents. | also authorize the lender, subsequent holder,
their agent or HEAF to release information and make inquiries to the persons | have listed in
my loan application as references, for the purpose of learning my current address and tele-
phone number. | certify that the proceeds of this loan will be used for educational purposes
for the academic period stated on my loan application at the educational institution named
on the application. { understand | am responsible for repaying any funds | receive.that canriot
_ teasonably be attributed to meeting my educational expenses related to attendance at that
institution for the loan period stated. | certify that | am a borrower eligible for participation in
the GSL program and that | do not owe a refund to any Title IV aid program. | certify that if
am eligible to apply for a Pell Grant, that ! have done so or that | have requested my institution
to estimate my eligibility for a Pell Grant. further certify | have read the materials explaining
the federal guaranteed student loan program which have been provided to me and that !
understand my responsibilities and my rights under that program.

SCHOOL CERTIFICATION

thereby certify that the student named in Section A of this application is accepted for en-
rollrnent or is enrolled as at least a half-time student, and is making satisfactory progress in
a program determined to be eligible for this loan program. | further certify that the student
has been determined by this institution, under the regulations applicable to this toan pro-
gram, to be eligible for the loan applied for: | further certify thatbgsed upon records available
.at.this institution and due inquiry to the student, the student NaS Satistied the requirements
~ wunder the Selective Service Act necessary to receive financial aid, is not in default on any
loan made under any Title lV student assistance progragp eniited in 34 GRR Part 668, and
is not liable for any refund of any grant made under.afyeitident assistagce program identi-
fied in 34 CFR Part 668. | further certify that this institution will comply with ail applicable
provisions of federal law and the rules, regulations, policies; and procedures of HEAF in the
administration of this loan, The information provided i{ Sectiphs A and B and this School
Certification is true, complete, and correct to the best 6f my knowledge and belief.
